                                                                                            $
                                                                 FILEDPage
Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021   BY 1 of 8                       D,C.

                                                                                    2E2 1# 2221
                                                                                    ANGELAE.NOBLE
                                                                                   CLERK U S DISI CQ
                           U NITED STATES DISTR ICT C O UR T                       s.o.ogiLk.-MI
                                                                                               AMI
                           SO UTH ER N DISTRICT O F FLO R ID A

                           CASE NO. 21-20151-CR-ALTM AN(s)
                                   21 U.S.C.5 963
                                        21U.S.C.59594a)
                                        21U.S.C.59524a)
                                        21 U.S.C.5 846
                                        21U.S.C.5841(a)(1)
                                        21U.S.C.1853
  UN ITED STA TES O F A M ER ICA

  VS.

  M IG U EL AN D RE S GU TIER REZ D IA Z,
         a/lk/a RM ickeyr''
  END Y D E JE SU S N U NE Z M AR M O L ,
         a/k/a <dElFuerte,''and
  DA N N Y NU N EZ M AR M O L ,

        D efendants.


                               SU PER SED IN G IND ICTM EN T

        TheGrand July chargesthat:

                                          CO U NT I

        Beginning asearly asin and around 2014 and continuing through in and arotmd 2020,the

  exactdatesbeing unknown to the Grand Jury,in M iam i-D ade,Brow ard,and M onroe Cotm ties,in

  the Southem DistrictofFlorida,and in the countries oftheDominican Republic and Colombia,

  and elsewhere,thedefendants,

                          M IG U EL A N DR ES G U TIERR EZ D IA Z,
                                       a/k/a (dM ickey,''
                           END Y D E JESU S N UN EZ M AR M O L ,
                                   a/k/a RE IFuerte,''and
                                D AN N Y N U NE Z M A RM O L,
Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021 Page 2 of 8




  did lcnowingly and willfully com bine,conspire,confederate,and agree with each otherand with

  other persons known and unknown to the Grand Jury,to distribute a controlled substance in

  Schedule II,intending,knowing,and having reasonable cause to believe that such conkolled

  substance would be unlawfully imported into the United States,in violation ofTitle 21,United

  StatesCode,Sections959(a);allinviolationofTitle21,UnitedStatesCode,Section963.
         Itisfurtherallegedthatthecontrolled substanceinvolved in theconspiracy attributable

 to thedefendants,asaresultoftheirconductandthe conductofotherconspiratorsreasonably

  foreseeableto them,isfive (5)kilogrnmsormoreofamixttlre and substancecontahzing a
  detectable nm ountof cocaine,a Schedule 11 controlled substance,in violation of Title 21,

 UnitedStatesCode,Section 960(b)(1)(B).
                                          COUN T Z

        Beginning asearly asin and arotmd2014 and continuingthrough in and arotmd 2020,the

 exactdatesbeing tmknown to the Grand Jury,in M iami-Dade,Broward,and M orlroeCotmties,in

 the Southem Distrid ofFlorida,and elsewhere,thedefendants,

                          M IGUEL ANDRES GUTIERREZ DIAA
                                     a/k/a RM ickey,''
                           EN DY DE JESU S NIJNE Z M A RM O L,
                                  a/k/a REIFuerte,''and
                               DA NN Y NIJN EZ M A RM O L ,

 did knowingly and willfully combine,conspire,confederate,and agreewith each otherand with

 otherpersonsknow n and llnknown to the Grand Jury,toim portinto theU nited States, from aplace

 outsidethereof,acontrolledsubstance,inviolationofTitle21,UnitedStatesCode,Section952(a);
 al1inviolation ofTitle21,United StatesCode,Sedion 963.

        ltisfurtherallegedthatthecontrolled substance involved in theconspiracy attributable

 to the defendants,asaresultoftheirconductandthe conductofotherconspiratorsreasonably

 foreseeableto them,istive (5)kilogrnmsormoreofamixture and substancecontaining a
Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021 Page 3 of 8




  detectable nm otmt of cocaine,a Schedule 11 controlled substance,in violation ofTitle 21,

  UnitedStatesCode,Section 960(b)(1)(B).
                                              CO U N T 3

         Begirming asearly asin and around 2014 and continuing through in and arotmd 2020,the

  exactdatesbeing tmlcnown totheGrand Jury,inM iam i-Dade,Broward,and M ortroe Counties,in

  the Southem DistrictofFlorida,and elsewhere,the defendants,

                             M IG U EL AN D RE S G U TIE RR EZ D IA Z,
                                         a/k/a ddM ickeyrr
                              END Y DE JESU S N IJNEZ M AR M O L ,
                                      a/k/a (dEIFuerte,''and
                                   D m Y N UN EZ M AR M O L,

  did knowingly and willfully combine,conspire,confederate,and agreewith each otherand with

  other persons know n and unknow n to the Grand Jury, to possess w ith intent to distribute a

  conkolledsubstance,inviolationofTitle21,UnitedStatesCode,Sedion841(a)(1)'
                                                                          ,al1inviolation
  ofTitle21,United StatesCode,Section 846.

         ltisfurtherallegedthatthecontrolledsubstanceilw olved in theconspiracy attributable

  tothedefendants,asaresultoftheirconductand theconductofotherconspiratorsreasonably

  foreseeableto them ,isfive (5)kilom amsorm ore ofam ixttu'eand substance containing a
  deteotable nm ount of ooeaine, a Sohedule 11 oontrolled substance, in violation of Title 21,

  United StatesCode,Section 841(b)(1)(A)(ii).
                                 FORFEITURE ALLEGATIONS

         1.      The allegations ofthis Superseding Indictm ent are hereby re-alleged and by this

  reference ftzlly incorporated herein for the puzpose of alleging forfeittlre to the U nited States of

  Am ericaofcertainpropertyin which thedefendants,M IGUEL ANDRES GUTIERRF,Z DIAZ,
Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021 Page 4 of 8




  a/k/a RM ickey,'' EN DY D E JESU S N U NE Z M A R M O L ,a/k/a ddE lFuerte,'' and D AN W

  NUNEZ M ARM OL,havean interest.

         2.      Upon convictionofaviolation ofTitle21,United StatesCode,Sections846and/or

  963,asalleged in this Superseding lndictm ent,the defendants shallforfeitto theU nited Statesany

  property constituting,orderived from ,any proceedsobtained,directly orindirectly,asaresultof

  such offense,and any property thatw as used or intended to be used,in any m arm er or part,to

  com mitorto facilitatethe comm ission of,such offense,plzrsuantto Title21,United StatesCode,

  Section 853.

          A l1pttrsuantto Title 21,United States Code,Sections 853 and 970.


                                                     A    U BILL



                                                     FOREPE S N

                                           1.



         AN TON IO  N  EZ
  1.W 1 ED STATES AT RN EY



  EL     D 'A N G ELO
  A SSISTAN T U N ITED STA TES A TTORN EY




                                                 4
  Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021 Page 5 of 8
                                             UNITED STATESDISTRICT Co tx r
                                            SOUTH ER N DISTRICT O F FLORD A

  W     TED STATESOF W        W CA                       cAsE No.21-20151-CR-ALTMAN(s)
   V.
                                                         C ERTIFICATE O F TR IAL ATTO RNEY*
   MIGUELANDRES GUTIERREZ DIAZ,etal
                                  .,
                                                         Superseding Caselnformation:
                              Defendants/
      Courtoivision:tselectone)                         Newdefendantts) I--IYes I-
                                                                                 Z-INo
    I'
     Z Miami F-IKeyWest N FTL                           Numberofnewdefendants 0
    N WPB N FTP                                         Totalnumberofcolmts 3
         1.lhavecarefully consideredtheallegationsoftheindictment,thenumberofdefendants,thenum berofproG ble
           witnessesand thelegalcom plexitiesoftheIndictm ent/lnform ation attachedhereto.
         2.Iam aware thattheinform ation suppliedon thisstatem entwillberelied upon by theJudgesofthisCoklrtin
           settingtheircalendarsandscheduling criminaltrialsunderthemandateoftheSpeedy TrialAct,
           Title28 U.S.C.Section 3161.
         3.Interpreter:(YesorNo)Yes
           Listlanguageand/ordialect Ypanish
         4.This casewilltake 14 daysforthepartiestotry.
         5.Pleasecheck appropriatecategory and typeofoffenselistedbelow :
              (Checkonlyone)                            (Checkonlyone)
          I 0to5days              g7I                  Pet'
                                                          ty               E7I
          11 6to10days            E7I                  Minor               (71
          111 11to20days          Ir
                                   zrl                 Misdemeanor         IIII
          IV 21to60days            Eq1                 Felony              Iz
          V 61daysandover         EqI
         6.HasthiscasepreviouslybeenfiledinthisDistrictCoul't? (YesorNo) Yes
           lfyes:Judge Roy K.Altman                     CaseNo.21-20151-CR-ALTMAN
           (Attachcopyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo) No
           Ifyes:M agistrateCaseN o.
           Relatedm iscellaneousnumbers:
           Defendantts)infederalcustodyasof 5/18/2021
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           lsthisapotentialdeathpenaltycase?(YesorNo) NO
         7. Doesthiscase originatefrom amatterpendingin theCentralRegion oftheU.S.Attorney'sOffice priorto
           August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
         8. Doesthiscase originatefrom amatterpendingin theNorthern Region oftheU.S.Attorney'sOfficepriorto
           August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) NO
         9. Doesthiscase originatefrom amatterpending in theCentralRegionoftheU.S.Attorney'sOfficepriorto
           October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No



                                                                     EL        '
                                                                               A NG ELO
                                                                     AssistantUni
                                                                                ted States Attorney
                                                                     CourtID No.     A5502579
*penaltySheetts)attached                                                                              REV 3/19/2l
Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021 Page 6 of 8




                             U M TED STATE S D ISTR ICT C O UR T
                             SO UTH ERN D ISTR ICT O F FLO R ID A

                                        PEN A LTY SHEET

  D efendant's N am e: M IG UEL A N DR ES G U TIER R EZ D IA Z

  CaseNo: 21-20151-CR-AI,TM AN(s)

  Cotmt#:1

  Conspiracy to distributecocaineintendinc.knowina.and havincreasonablecauseto believethat
  itw ould be tm law fully im ported into the U nited States

  Title21eUnitedStatesUode.Section963
  *M ax.Penalty:Life lm prisonm ent

  Cotmt#:2

  Conspiracy to im portcocaine into the U nited States

  Title21.United StatesCodeeSection 963

  *M ax.Penalty:Life Im prisonm ent

  Collnt#:3

  Conspiracv to possessw ith intentto distribute cocaine

 Title21sUnited StatesCode.Section 846

  *M ax.Penalty:Life Im prisonm ent




  *R efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                            U NITED STA TES DISTRIC T C O UR T
                            SO UTH ERN DISTRIC T O F FLO R ID A

                                       PENA LTY SH EET

  D efendant'sN am e: EN DY D E JESU S N UN EZ M AR M O L

  CaseNo: 21-20151-CR-ALTM AN(s)
  Colm t//21

  Conspiracv to distributecocaineintendinc.lcnowinc.and havincreasonablecausetobelievethat
  itwouldbeunlawfullv imported intotheUnited States

  Title 21.United StatesCodesSection 963

  *M ax.Penalty:Life Im prisonm ent

  Cotmt#:2

  Conspiracv to im portcocaineintotheUnited States

  Title21.United StatesCode.Sedion 963

  *M ax.Penalty:Lifelmprisonm ent

  Count#:3

  Conspiracv to possesswith intentto distdbutecocaine

  Title 21.United StatesCodesSection 846

  *M ax.Penalty:Life Im prisonm ent




  frR efers only to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20151-RKA Document 61 Entered on FLSD Docket 12/15/2021 Page 8 of 8




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                            SO UTH ERN DISTR ICT O F FLO R IDA

                                       PEN ALTY SH EET

  D efendant'sN am e: D A NN Y N U N EZ M A RM O L

  CaseNo: 21-20151-CR-ALTM AN(s)
  Cotmt#:1

  Conspiracv to distdbutecocaineintendirm,knowinc.and havingreasonablecausetobelievethat
  itwouldbeunlawfullv imported intotheUnited States   -.   ..                     .




  Title 21eUnited StatesCodeaSection 963

  *M ax.Penalty:Lifelmprisonment

  Cotmt#:2

  Conspiracy to im portcocaineintotheUnited States
       -




  Title 21.U nited States Code.Section 963

  *M ax.Penalty:Life Im prisonm ent

  Cotmt#:3

  Conspiracv to possesswith intentto distribute cocaine

  Title 21sUnited States CodeeSection 846

  *M ax.Penalty:Life Im prisonm ent




  WR efers only to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
